

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-75,757-01






EX PARTE ROBERT LEN HAAS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 16176-B IN THE 104TH JUDICIAL DISTRICT COURT


FROM TAYLOR COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant entered an open plea of guilty to
indecency with a child, and was sentenced to eight years' imprisonment.   

	Applicant contends, inter alia, that his counsel rendered ineffective assistance because 
counsel mis-advised him regarding his right to appeal.  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance
of counsel.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d). 
In the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall first supplement the habeas record with copies of any plea papers in this
case, and with a transcript of the plea and punishment hearings.  The trial court shall make findings
of fact as to whether Applicant was correctly advised of his right to appeal, and if so, whether he
indicated any desire to appeal.  If Applicant did indicate that he wanted to appeal, the trial court shall
make findings as to whether appellate counsel was appointed, and if not, why not.  The trial court
shall make findings as to whether Applicant was denied his right to a meaningful appeal because of
erroneous advice regarding his right to appeal.  The trial court shall also make any other findings of
fact and conclusions of law that it deems relevant and appropriate to the disposition of Applicant's
claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed: June 8, 2011

Do not publish


